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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

ARTHUR W. CARSON                      §
TDCJ-CID No. 517349,                  §
                Petitioner,           §
v.                                    § CIVIL ACTION NO. 3-08-cv-0099-K
                                      §                 ECF
                                      §“Referred to the U.S. Magistrate Judge”
                                      §            (Irma Ramirez)
NATHANIEL QUARTERMAN,                 §
Director,                             §
Texas Department of Criminal Justice, §
Correctional Institutions Division,   §
                    Respondent.1      §


    RESPONDENT QUARTERMAN’S ANSWER WITH BRIEF IN SUPPORT

      Petitioner Arthur W. Carson (“Carson”) challenges the denial of his parole

through a petition for writ of habeas corpus under 28 U.S.C. §§ 2241 and 2254 (West

2007). The petition should be dismissed, because Carson’s federal writ petition is

successive and procedurally defaulted or, in the alternative, his claims are not

cognizable, and conclusory.

                                      JURISDICTION

      The Director believes the Court does not have jurisdiction because this is a

successive petition. See Part I, infra. However, in the event that this petition is not

successive, the Court has jurisdiction over the subject matter and the parties pursuant

to 28 U.S.C. § 2241 and § 2254. Jurisdiction is proper in either the district where the

person is in custody or the district in which the state court convicted and sentenced

him. Wadsworth v. Johnson, 235 F.3d 959, 961 (5th Cir. 2000) (quoting § 2241(d)). In



      1
          For purposes of clarity, Nathaniel Quarterman will be referred to as "the Director."

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this case, jurisdiction is based on Carson’s conviction and sentence in 2nd Criminal

District Court, located in Dallas County within the Northern District of Texas, Dallas

Division. See 28 U.S.C. § 124 (West 2007).

                                  GENERAL DENIAL

      The Director denies each allegation of fact made by Carson, except those

supported by the record and those specifically admitted herein.

                             STATEMENT OF THE CASE

      The Director has lawful custody of Carson pursuant to a judgment and sentence

of the 2nd Criminal District Court of Dallas County, Texas, in cause number F88-

84596-L1, styled The State of Texas v. Arthur Wayne Carson. Ex parte Carson,

Application No. 8,774-09, at 12 (judgment and sentence for attempted murder). In that

case, Carson was sentenced to 20 years imprisonment on July 6, 1989. Id. An

appellate and procedural history of Carson’s conviction is not necessary for the

disposition of the instant case, because the validity of Carson’s holding conviction is not

directly in issue. Petition at 7, 7A-7C. Rather, Carson challenges the denial of release

on parole. Id.

      The Board of Pardons and Paroles (“the Board”) most recently denied his parole

on May 31, 2007. Exhibit B. Carson raised two of his claims in the instant petition in

his 22nd state application for writ of habeas corpus, filed on July 23, 2007. Ex parte

Carson, No. 8,774-22, at 2. That application was dismissed without written order on

March 12, 2008. Ex parte Carson, No. 8,774-22, at “action taken” cover sheet.

      This is the second of two federal petitions Carson has filed with this court. He

filed his first petition on November 15, 2006, alleging that the Board improperly

classified him as a gang member and improperly used that as a reason to deny his

parole. Carson v. Quarterman, Civil Action No. 3:06cv2123, docket entry no.1. Carson


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then filed the instant action on January 9, 2008.2 Petition at 9.

                 STATE COURT AND ADMINISTRATIVE RECORDS

       Copies of Petitioner’s state records were previously filed with this Court on

March 5, 2008 under separate cover letter. A copy of the state court records will not

be forwarded to Petitioner.3 Attached hereto as “Exhibit A” is Carson’s commitment

inquiry sheet , with attached explanations, providing information regarding his

holding convictions.

       Also attached hereto as “Exhibit B” is a copy of the minutes from the Board

documenting Carson’s review dates. The minutes were kept on a legal-length sheet,

so the copy is two pages with the first page being the top section of the minutes record

and the second page being the bottom section of the minutes record.

                             PETITIONER'S ALLEGATIONS

       The Director understands Carson to present the following allegations concerning

his denial of his parole:

       1. The state habeas court’s delay frustrated his exhaustion process.

       2. The Board improperly denied his due process rights by not providing a parole
       review hearing or interview.

       3. The Board is making him serve a disproportionate amount of time because
       of his race.



       2
         See Spotville v. Cain, 149 F.3d 374, 378 (5th Cir. 1998) (for purposes of determining
the applicability of the AEDPA, a federal petition is filed on the date it is placed in the prison
mail system). Thus, the instant petition could not have been “filed” sooner than January 9,
2008, the date Petitioner placed it in the prison mail. See Petition at 9 (although Carson writes
“January 9, 2007" in his petition, the Director regards this as a mere clerical error based on
its inconsistency with other dates relating to Carson’s petition).
       3
        An indigent inmate is not entitled to receive a free copy of his trial records for habeas
corpus purposes. See United States v. MacCollom, 426 U.S. 317 (1976); Smith v. Beto, 472
F.2d 164, 165 (5th Cir. 1973).

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Petition at 7, 7A-7C.



                        ANSWER WITH BRIEF IN SUPPORT

I. Carson’s Petition Should Be Dismissed as Successive.

      Carson filed his federal writ of habeas corpus on January 9, 2008. Petition at

9. Consequently, the petition is subject to review under the amendments to the habeas

corpus statutes, the Antiterrorism and Effect Death Penalty Act of 1996 (“AEDPA”).

See Lindh v. Murphy, 521 U.S. 320, 336 (1997). Therefore, the AEDPA’s provisions

regarding second or successive petitions apply. Felker v. Turpin, 518 U.S. 651 (1996);

In re West, 119 F.3d 295 (5th Cir. 1997); In re Sylvester Tolliver, 97 F.3d 89 (5th Cir.

1996). The applicable amendments concerning second or successive federal habeas

petitions provide:

      (b)(1) A claim presented in a second or successive application under
      section 2254 that was presented in a prior application shall be dismissed.

      (2) A claim presented in a second or successive habeas corpus application
      under section 2254 that was not presented in a prior application shall be
      dismissed unless–

             (A) the applicant shows that the claim relies on a new rule
             of constitutional law, made retroactive to cases on collateral
             review by the Supreme Court, that was previously
             unavailable; or

             (B)(i) the factual predicate for the claim could not have been
             discovered previously through the exercise of due diligence;
             and

             (ii) the facts underlying the claim, if proven and viewed in
             light of the evidence as a whole, would be sufficient to
             establish by clear and convincing evidence that, but for
             constitutional error, no reasonable factfinder would have

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             found the applicant guilty of the underlying offense.

      (3)    (A) Before a second or successive application permitted by
             this section is filed in the district court, the applicant shall
             move in the appropriate court of appeals for an order
             authorizing the district court to consider the application.

             (B) A motion in the court of appeals for an order authorizing
             the district court to consider a second or successive
             application shall be determined by a three-judge panel of
             the court of appeals.

             (C) The court of appeals may authorize the filing of a second
             or successive application only if it determines that the
             application makes a prima facie showing that the
             application satisfies the requirements of this subsection.

             (D) The court of appeals shall grant or deny the
             authorization to file a second or successive application not
             later than 30 days after the filing of the motion.

             (E) The grant or denial of an authorization by a court of
             appeals to file a second or successive application shall not be
             appealable and shall not be the subject of a petition for
             rehearing or for a writ of certiorari.

      (4) A district court shall dismiss any claim presented in a second or
      successive application that the court of appeals has authorized to be filed
      unless the applicant shows that the claim satisfies the requirements of
      this section.

28 U.S.C. § 2244(b) (2007).

      Carson raised claims challenging a denial of his parole in a previous petition.

Carson v. Quarterman, Civil Action No. 3:06cv2123, docket entry no.1. That petition

was eventually denied and dismissed on May 3, 2007. Id., docket entry no. 16. Carson

does not admit to having filed the first federal petition. Petition at 8, 9.

      Carson has not informed this Court of his previous petition and has failed to


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obtain permission from the Fifth Circuit to pursue a subsequent federal petition.

Carson must receive permission from “a three-judge panel of the court of appeals” in

order for the instant petition to be properly before this court.            28 U.S.C. §§

2244(b)(3)(A)-(E). The Director’s records do not reflect Carson has received such

permission. Moreover, Carson has not attached proof of receiving such permission.

For these reasons, this Court lacks jurisdiction to address the merits of this petition.

II.     Carson’s Claims Are Unexhausted and Procedurally Barred.

        Carson alleges three claims having to do with the denial of his parole. Petition

at 7, 7A-7C. However, Carson did not properly exhaust these claims and they are now

procedurally defaulted. Therefore, Carson has not met the exhaustion requirements

of 28 U.S.C. § 2254(b) and (c), which read in pertinent part as follows:

           (b)(1) An application for a writ of habeas corpus on behalf of a person
           in custody pursuant to the judgment of a State court shall not be
           granted unless it appears that-- (A) the applicant has exhausted the
           remedies available in the courts of the State; . . .

           (c) an applicant shall not be deemed to have exhausted the remedies
           available in the courts of the State, within the meaning of this section,
           if he has the right under the law of the State to raise, by any available
           procedure, the question presented.


28 U.S.C. § 2254 (West 2007).

        Carson must have first provided to the highest court of the state a fair

opportunity to apply (1) the controlling federal constitutional principles to (2) the same

factual claims, before a federal court will entertain the alleged errors. Duncan v.

Henry, 513 U.S. 364, 365-366 (1995); Picard v. Connor, 404 U.S. 270, 275, 277-78

(1971); Anderson v. Harless, 459 U.S. 4, 6 (1982); Rose v. Lundy, 455 U.S. 509, 510


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(1982). The exhaustion doctrine, codified at 28 U.S.C. § 2254(b) and (c), is based on

principles of comity between the state and federal judicial systems and "reflects a

desire to ‘protect the state courts’ role in the enforcement of federal law.’" Castille v.

Peoples, 489 U.S. 346, 349 (1989) (quoting Rose v. Lundy, 455 U.S. 509, 518 (1982)).

This Court and the Fifth Circuit Court of Appeals have consistently adhered to this

doctrine. See, e.g. , Rose, 455 U.S. at 509; Picard v. Connor, 404 U.S. 270, 275 (1971);

Bufalino v. Reno, 613 F.2d 568, 569 (5th Cir. 1980). In order to satisfy the exhaustion

requirement, Carson must have not only presented his claim to the highest state court,

but he must have presented it in a procedurally correct manner. Castille, 489 U.S. at

351. In other words, a habeas applicant must give the state courts a fair opportunity

to review his claims in a procedural context in which the state courts will be certain

to review his claims solely on their merits. Id. Furthermore, exhaustion is mandatory,

"irrespective of the forms of relief sought and offered through administrative avenues."

Booth v. Churner, 532 U.S. 731, 739, 741 n.6 (2001). Thus, the exhaustion requirement

extends to habeas corpus claims concerning denial of parole. See Serio v. Members of

Louisiana State Board of Pardons, 821 F.2d 1112, 119 (5th Cir. 1987) (claim

challenging denial of parole requires exhaustion of state remedies.).

      The Court of Criminal Appeals is the highest court in Texas to which a prisoner

may challenge his conviction. TEX . CODE CRIM . PROC . ANN ., art. 4.04 § 2 (West 2006);

TEX . CODE CRIM . PROC . ANN . art. 11.07 (West 2006). The exceptions to the requirement

that state remedies be exhausted apply only in "extraordinary circumstances." D.C.P.

Farms v. Yeutter, 957 F.2d 1183, 1188 (5th Cir. 1992). "Exceptions to the exhaustion

requirement are appropriate where the available administrative remedies either are

unavailable or wholly inappropriate to the relief sought, or where the attempt to

exhaust such remedies would itself be a patently futile course of action." Hessbrook v.


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Lennon, 777 F.2d 999, 1003 (5th Cir. 1985) (emphasis added). However, a federal

habeas petitioner bears the burden of demonstrating the futility of pursuing available

remedies. Fuller v. Rich, 11 F.3d 61, 62 (5th Cir. 1994). In the Fifth Circuit, the

position is "that the exhaustion requirement has consistently been construed in favor

of giving the state the first opportunity to correct any alleged constitutional errors."

Joyner v. King, 786 F.2d 1317, 1320 (5th Cir. 1986); Brown v. Estelle, 701 F.2d 494,

495 (5th Cir. 1983). Thus, the state courts must be given an opportunity to consider the

same factual grounds under the identical legal theories before Carson is permitted to

bring his constitutional claims to this court.

      Carson did not include his claims in a procedurally correct manner in his state

application, and he never presented his first claim in state court at all. Ex parte

Carson, No. 8,774-22, at 2-12. Although he included his other two claims in his 22nd

state application, he presented his claims in a subsequent petition, so they could not

be considered on their merits. Id. That application was dismissed without written

order, presumably because his application was subsequent. Id. at “action taken”

sheet; see also id. at 18-19 (state’s response, arguing application was subsequent), 25

(district court order recommending application be dismissed as subsequent). Because

Carson present his claims in such a way that they would not be considered on their

merits, his claims were not fairly presented in state court and are unexhausted. See

Castille v. Peoples, 489 U.S. 346, 351 (1989)(stating “where the claim has been

presented for the first and only time in a procedural context in which its merits will not

be considered [by the state court] unless there are special and important reasons

therefor, [r] aising the claim in such a fashion does not, for the relevant purpose,

constitute ‘fair presentation’”) (internal quotations and citations omitted).

      In addition to this claim being unexhausted, it is also procedurally barred from


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review. Carson already filed for a state writ challenging his parole denial, therefore

any attempt to file for another state writ challenging the circumstances surrounding

the same would result in a citation for abuse of the state writ by the Texas Court of

Criminal Appeals. Ex parte Carson, No. 8,774-22, at 2-12; See Ex parte Whiteside, 12

S.W.2d 819, 821-22 (Tex. Crim. App. 2000). It is well-settled that citation for abuse of

the writ by the Court of Criminal Appeals constitutes a procedural default that bars

federal habeas review of the merits of a habeas petitioner’s claims. Nobles v. Johnson,

127 F.3d 409, 422 (5th Cir. 1997); Fearance v. Scott, 56 F.3d 633 (5th Cir. 1995). The

Fifth Circuit has noted that the Texas Court of Criminal Appeals applies its abuse of

the writ rules regularly and strictly. Fearance v. Scott, 56 F.3d 633, 642 (5th Cir.

1995).

         The normal rule that a state court must explicitly apply a procedural bar to

preclude federal review does not apply to those cases where a petitioner has failed to

exhaust his state court remedies and the state court to which he would be required to

present his unexhausted claims would now find those claims to be procedurally barred.

Id. In such cases, the federal procedural default doctrine precludes federal habeas

corpus review. Id.; see Nobles, 127 F.3d at 423 (finding unexhausted claim, which

would be barred by the Texas abuse-of-the-writ doctrine if raised in a successive state

habeas petition, to be procedurally barred); see also Emery v. Johnson, 139 F.3d 191,

196 (5th Cir. 1997). Accordingly, Carson’s claim should be dismissed as unexhausted

and procedurally barred.

         To overcome this procedural bar, Carson must demonstrate either cause and

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prejudice, or that a failure to address the claim will result in a fundamental

miscarriage of justice. Coleman v. Thompson, 501 U.S. 722, 750 (1991). "Cause is

defined as ‘something external to the petitioner, something that cannot fairly be

attributed to him’ that impedes his efforts to comply with the [state] procedural rule."

Moore v. Roberts, 83 F.3d 699, 704 (5th Cir. 1996) (citing Coleman, 501 U.S. at 753).

"Cause" factors may include interference by officials that makes compliance with the

procedural rule impracticable, a showing that the factual or legal basis for the claim

was not reasonably available to counsel, and ineffective assistance of counsel—in the

constitutional sense—on direct appeal. Murray v. Carrier, 477 U.S. 478, 488 (1986).

If a petitioner fails to demonstrate cause, the Court need not consider whether there

is actual prejudice. Rodriguez v. Johnson, 104 F.3d 694, 697 (5th Cir. 1997).

       Carson does not demonstrate cause, prejudice, or a fundamental miscarriage of

justice. Ex parte Carson, No. 8,774-22, at 2-12. At most he makes an argument for

cause by claiming that the state court unnecessarily delayed his application, but

assuming arguendo that he makes a reasonable claim of cause, he still does not make

any demonstration of prejudice. Even so, he has not alleged a cause that would excuse

the procedural default, and a failure to address the claim would not result in a

fundamental miscarriage of justice because Carson does not allege nor demonstrate

that he is actually innocent. Murray, 477 U.S. at 495-496. Consequently, this claim

should be dismissed with prejudice as procedurally barred.

III.   Standard of Review

       In the alternative to his claims being successive or procedurally barred, Carson

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has also failed to allege or satisfy his required burden of proof under the AEDPA. The

provisions of Section 2254(d) set forth a “highly deferential standard for evaluating

state-court rulings, . . . , which demands that state court decisions be given the benefit

of the doubt.” Woodford v. Visciotti, 537 U.S. 19 (2002) (internal citation omitted).

Here, Petitioner may not obtain federal habeas corpus relief with respect to any claim

that was adjudicated on the merits in State court proceedings unless the adjudication

of the claim–

                   (1) resulted in a decision that was contrary to, or
                involved an unreasonable application of, clearly established
                Federal law, as determined by the Supreme Court of the
                United States; or

                   (2) resulted in a decision that was based on an
                unreasonable determination of the facts in light of the
                evidence presented in the State court proceeding.


28 U.S.C. § 2254(d) (West 2006); see Riddle v. Cockrell, 288 F.3d 713, 716 (5th Cir.

2002) (quoting 28 U.S.C. § 2254(d)(1)-(2)). Courts are to review pure questions of law

and mixed questions of law and fact under subsection (d)(1), and pure questions of fact

under subsection (d)(2). See Martin v. Cain, 246 F.3d 471, 475 (5th Cir. 2001). Under

this standard, a federal habeas corpus court’s review is restricted to the reasonableness

of the state court’s “ultimate decision, not every jot of its reasoning.” Santellan v.

Cockrell, 271 F.3d 190, 193 (5th Cir. 2001) (citing Cruz v. Miller, 255 F.3d 77, 86 (2d

Cir. 2001) (noting that even where a state court makes a mistake in its analysis, “we

are determining the reasonableness of the state court’s ‘decision,’ . . . not grading their

papers.”). Indeed, the AEDPA deferential standard of review applies even where the

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state court fails to cite to applicable Supreme Court precedent or fails to explain its

decision. Early v. Packer, 537 U.S. 3, 7 (2002); Catalan v. Cockrell, 315 F.3d 491, 493

(5th Cir. 2002); Schaetzle v. Cockrell, 343 F.3d 440, 443 (5th Cir. 2003).

       A decision is contrary to clearly established federal law “if the state court arrives

at a conclusion opposite to that reached by [the Supreme Court] on a question of law

or if the state court decides a case differently than [the] Court has on a set of

materially indistinguishable facts.” Terry Williams v. Taylor, 529 U.S. 362, 413 (2000).

A decision is an unreasonable application of federal law “if the state court identifies the

correct governing legal principle . . . but unreasonably applies that principle to the

facts of the prisoner’s case.” Id. To be unreasonable, the state decision must be more

than merely incorrect or erroneous. See Lockyer v. Andrade, 538 U.S. 63, 75 (2003).

Rather, the state court’s application of clearly established law must be “objectively

unreasonable.” Id. Stated another way, a reversal is not required unless “the state

court decision applies the correct legal rule to a given set of facts in a manner that is

so patently incorrect as to be ‘unreasonable.’ ” Gardner v. Johnson, 247 F.3d 551, 560

(5th Cir. 2001); see Montoya v. Johnson, 226 F.3d 399, 403-04 (5th Cir. 2000) (the

standard for federal habeas relief is one of objective reasonableness.); see also Neal v.

Puckett, 286 F.3d 230, 246 (5th Cir. 2002) (en banc) (holding that a federal court’s

“focus on the ‘unreasonable application’ test under Section 2254(d) should be on the

ultimate legal conclusion that the state court reached and not on whether the state

court considered and discussed every angle of the evidence”).

       Specifically, the AEDPA has “modified a federal habeas court’s role in reviewing

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state prisoner applications in order to prevent federal habeas ‘retrials’ and to ensure

that state court convictions are given effect to the extent possible under law.” Bell v.

Cone, 535 U.S. 685, 693 (2002); see Williams, 529 U.S. at 404. A federal habeas court’s

inquiry into unreasonableness should be objective rather than subjective, and a court

should not issue the writ simply because that court concludes in its independent

judgment that the relevant state court decision applied clearly established federal law

erroneously or incorrectly. Williams, 529 U.S. at 409-11; Tucker v. Johnson, 242 F.3d

617, 620-21 (5th Cir. 2001). Rather, federal habeas relief is only merited where the

state court decision is both incorrect and objectively unreasonable. Williams, 529 U.S.

at 411; Martin v. Cain, 246 F.3d 471, 476 (5th Cir. 2001). In other words, habeas relief

is inappropriate when a state court, at a minimum, reaches a “satisfactory conclusion.”

Williams, 529 U.S. at 410-11 (citing Wright v. West, 505 U.S. 277, 287 (1992)).

      Moreover, where the petitioner


      has failed to develop the factual basis of a claim in State court
      proceedings, the court shall not hold an evidentiary hearing on the claim
      unless the applicant shows that–

      (A) the claim relies on–

             (i) a new rule of constitutional law, made retroactive to cases on
             collateral review by the Supreme Court, that was previously
             unavailable; or

             (ii) a factual predicate that could not have been previously
             discovered through the exercise of due diligence; and

      (B) the facts underlying the claim would be sufficient to establish by clear
      and convincing evidence that but for constitutional error, no reasonable
      factfinder would have found the applicant guilty of the underlying

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       offense.


28 U.S.C. § 2254(e)(2) (2006).

       Thus, in the state courts, a petitioner “must be diligent in developing the record

and presenting, if possible, all claims of constitutional error. If the prisoner fails to do

so, himself or herself contributing to the absence of a full and fair adjudication in state

court, Section 2254(e) prohibits an evidentiary hearing to develop the relevant claims

in federal court, unless the statute’s other stringent requirements are met.” Williams

v. Taylor, 529 U.S. 420, 437 (2000).

       For the purposes of this petition, Carson has essentially regurgitated some of the

claims he made in the State courts and has failed to demonstrate, much less allege,

how the State court acted unreasonably under 28 U.S.C. § 2254(d) of the AEDPA.

Thus, under the AEDPA standards, Carson has not made sufficient allegations to

entitle him to federal habeas corpus relief on any of his claims.

III.   Carson’s Claims Must Fail Because He Does Not Have a Liberty Interest In
       Parole.

       Carson makes multiple claims as to why the denial of his parole was improper.

Petition at 7. However, his claims fail to raise a cognizable claim for habeas corpus

relief because Carson is not eligible for mandatory supervision and he has no liberty

interest in parole.

       “Federal habeas relief cannot be granted unless the petitioner alleges that he

‘has been deprived of some right secured to him by the United States Constitution or

the laws of the United States.’ ” Teague v. Quarterman, 482 F.3d. 769, 773 (5th Cir.


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2007) (citing Hillard v. Bd. of Pardons & Paroles, 759 F.2d 1190, 1192 (5th Cir. 1985)).

Thus, in order for Carson to succeed on his claims, he needs to first establish that he

has been deprived of a constitutionally-protected right.

      There are two types of supervised release from prison in Texas: parole and

mandatory supervision. See Teague, 482 F.3d at 774 (explaining the difference

between mandatory supervision and parole under Texas law). Although the improper

denial of mandatory supervision would involve the denial of a constitutionally-

protected right, Carson is not eligible for mandatory supervision. Id.; Exhibit A. Since

Carson is only eligible for parole, he has not been deprived of a constitutionally-

protected right, as explained below.

      States do not have a duty to establish a parole system, so there is no inherent

constitutional right to parole before the expiration of a valid sentence. See Board of

Pardons v. Allen, 482 U.S. 369, 378 n.10 (1987) (“statutes or regulations that provide

that a parole board ‘may’ release an inmate on parole do not give rise to a protected

liberty interest.”); Greenholtz v. Nebraska Penal Inmates, 442 U.S. 1, 11 (1979) (a

statute which “provides no more than a mere hope that the benefit will be obtained .

. . is not protected by due process”). Further, it is well-settled that “there is no right

or constitutional expectancy of early release on parole in Texas, because parole is

within the total and unfettered discretion of the State.” Teague, 482 F.3d. at 774 (5th

Cir. 2007) (citing Madison v. Parker, 104 F.3d 765, 768 (5th Cir. 1997) and Creel v.

Keene, 928 F.2d. 707, 711-712 (5th Cir. 1991)). Moreover, the Texas parole statutes



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do not create a liberty interest in being reviewed for parole at a certain time interval.

See Allison v. Kyle, 66 F.3d 71, 74 (5th Cir. 1995) (no due process or ex post facto

violation due to change in frequency of parole reviews; the parole board can review a

case at such intervals as it determines); see also Orellana v. Kyle, 65 F.3d 29, 32 (5th

Cir. 1995) (stating that no liberty interest exists in obtaining parole in Texas;

therefore, inmates cannot complain of constitutionality of procedural devices attendant

to parole decisions). Finally, in making decisions regarding parole eligibility, “the

[Board] has the right to consider any evidence that existed at the time of sentencing

. . . .” Page v. United States Parole Commission, 651 F.2d 1083, 1086 (5th Cir. 1981).

      Therefore, Carson’s claims fail to raise a constitutional issue, because he has no

protected liberty interest in being released on parole and he is not eligible for

mandatory supervision. Accordingly, he is not entitled to habeas relief on his claims.

IV.   Carson’s First Claim Is Not Cognizable on Federal Habeas Review.

      In his first claim, Carson alleges that the state habeas court took too long to

respond to his state application for habeas corpus, thereby frustrating his ability to

exhaust him claims in state court. Petition at 7, 7A. However, his claim fails “because

infirmities in state habeas proceedings do not constitute grounds for relief in federal

court.” Hallmark v. Johnson, 118 F.3d 1073, 1080 (5th Cir. 1997); see Nichols v. Scott,

69 F.3d 1255, 1275 (5th Cir. 1995) (“[a]n attack on a state habeas proceeding does not

entitle the petitioner to habeas relief in respect to his conviction, as it is an attack on

a proceeding collateral to the detention and not the detention itself.”) (internal

quotation marks omitted); Trevino v. Johnson, 168 F.3d 173, 180 (5th Cir. 1999); Duff-

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Smith v. Collins, 973 F.2d 1175, 1182 (5th Cir. 1992) (same); Millard v. Lynaugh, 810

F.2d 1403, 1410 (5th Cir. 1987) (same); Vail v. Procunier, 747 F.2d 277, 277 (5th

Cir.1984) (denying petitioner a certificate of probable cause because “[i]nfirmities in

state habeas corpus proceedings do not constitute grounds for federal habeas relief”).

Consequently, this claim must be dismissed for failure to raise a cognizable federal

habeas corpus claim.

V.      Carson’s Racial Discrimination Claim Is Conclusory.

        In Carson’s third claim, he alleges that he has been repeatedly denied parole

because of a “discriminatory custom, practice, [or] policy of using race as a criteria in

determining release. Petition at 7, 7C. However, in the event his claims are not

dismissed as successive, this claim should be denied because it is conclusory.

        Although pro se habeas petitions must be construed liberally, ‘mere’ conclusory

allegations on a critical issue are insufficient to raise a constitutional issue.” Koch v.

Puckett, 907 F.2d 524, 530 (5th Cir. 1990) (citing United States v. Woods, 870 F.2d

285, 288 n.3 (5th Cir. 1989)). In Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir. 1983),

the court held that “[a]bsent evidence in the record, a court cannot consider a habeas

petitioner’s bald assertions on a critical issue in his pro se petition . . . , unsupported

and unsupportable by anything else contained in the record, to be of probative

evidentiary value.” Id. at 1011; see also Blackledge v. Allison, 431 U.S. 63, 74 (1977)

(noting that a petition that presents “conclusory allegations unsupported by specifics

is subject to summary dismissal, as are contentions that in the face of the record are

wholly incredible.”).


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      In the instant case, Carson offers nothing but bald assertions to support his

claim. He does not specify what “custom, practice, or policy” is discriminatory. At most

he references “Board Rule-2-D,” but it is unclear what rule he is referring to or what

this rule has to do with racial discrimination. Petition at 7C. Because this claim

involves nothing more than conclusory allegations unsupported by specifics, this claim

should be dismissed as conclusory.

                                   CONCLUSION

      For the foregoing reasons, the Director respectfully requests the Court dismiss

Carson’s petition for writ of habeas corpus, and sua sponte deny a certificate of

appealability. See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000).

                                        Respectfully submitted,

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                                        ATTORNEYS FOR RESPONDENT


                   CERTIFICATE OF INTERESTED PERSONS

   I, Nathan Tadema, do hereby certify, pursuant to Local Rule 3.1(f) of the Northern

District of Texas that other than the Petitioner, Arthur W. Carson, and the

Respondent, Nathaniel Quarterman, Director Texas Department of Criminal Justice,

Correctional Institutions Division, counsel for Respondent is unaware of any person

with a financial interest in the outcome of this case.



                                        s/ Nathan Tadema
                                        NATHAN TADEMA
                                        Assistant Attorney General



                            CERTIFICATE OF SERVICE

      I, do hereby certify that a true and correct copy of the above and foregoing

Respondent’s pleading has been served by placing the same in the United States Mail,

postage prepaid, on this the 24th day of April, 2008, addressed to:

Arthur W. Carson
TDCJ-CID No. 517349
Michael Unit
P.O. Box 4500
Tennessee Colony, TX 75886

                                           s/ Nathan Tadema
                                           NATHAN TADEMA
                                           Assistant Attorney General




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